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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                       Plaintiff,                    Case No. 1:13-cr-00205-JTN

v.                                                   Honorable Janet T. Neff

MICHAEL DUVALL DAVIS, JR.,
                                                     ORDER
                  Defendant.
_________________________________/



       Defendant appeared before me with counsel on December 12, 2016, for a preliminary

hearing on the petition for warrant or summons for offender under supervision, FED. R. CRIM. P.

32.1(b)(1). Based on the evidence proffered during the hearing, I find that there is probable cause

to believe that defendant has violated conditions of supervised release. I also find that defendant

has not sustained his burden of demonstrating by clear and convincing evidence an eligibility for

bond. Defendant is remanded to the custody of the Attorney General pending a final revocation

hearing. Accordingly:

       IT IS ORDERED that defendant be and hereby is bound over for further proceedings before

the district judge on the petition for warrant or summons for offender under supervision.

       IT IS FURTHER ORDERED that defendant is committed to the custody of the Attorney

General until further order of the court.


Date: December 13, 2016                               /s/ Phillip J. Green
                                                     PHILLIP J. GREEN
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                                           United States Magistrate Judge




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